    2:12-cv-03510-CWH          Date Filed 02/15/13       Entry Number 16         Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT 

                      FOR THE DISTRICT OF SOUTH CAROLINA 

                              CHARLESTON DIVISION 


Mark Fitzhenry,                               )       Civil Action No.: 2:12-03510-CWH
                                              )
                      Plaintiff,              )
                                              )
                      vs.                     )
                                              )               ORDER
lSI Alarms NC Inc. d/b/a! Security            )
Promotions, W. Jayson Waller,                 )
Kevin Klink,                                  )
Monitronics International, Inc., and          )
John Doe,                                     )
                                              )
                       Defendants.            )
-------------------------)
       The pro se plaintiff, Mark Fitzhenry (the "plaintiff'), initiated this action in the

Charleston County Magistrate's Court, alleging violations of the Telephone Consumer Protection

Act. (ECF No.1-I). Honeywell International, Inc. ("Honeywell") was served with a copy of the

complaint, although neither it nor any related entity is a defendant in this action. On December

12, 2012, Honeywell removed the action to this court, with the consent of the defendants lSI

Alarms NC Inc. d/b/a! Security Promotions, W. Jayson Waller, and Kevin Klink. As the plaintiff

was proceeding pro se, this matter was referred to a United States Magistrate Judge for pre-trial

proceedings and a report and recommendation ("R&R"), pursuant to 28 U.S.C. § 636(b)(1 )(B)

and Local Civil Rule 73.02(B)(2)(e), D.S.C.

       On December 19, 2012, Honeywell filed a motion to dismiss the action pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure. Accordingly, the magistrate judge issued an

order pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), advising the plaintiff of



                                                                                          Page 1 of 3
    2:12-cv-03510-CWH          Date Filed 02/15/13      Entry Number 16        Page 2 of 3




the importance of a dispositive motion and ofthe need for him to file an adequate response. The

plaintiff was specifically advised that ifhe failed to respond adequately, Honeywell's motion

could be granted. Despite this specific notice and the warnings as set forth in the Roseboro

order, the plaintiff did not respond to the motion. On January 28,2013, the magistrate judge

issued an R&R recommending that Honeywell's motion be granted, and that the complaint be

dismissed with prejudice insofar as it pertained to Honeywell or any related entity. (ECF No.

10). The magistrate judge specifically advised the plaintiff of the procedures and requirements

for filing objections to the R&R and the serious consequences ifhe failed to do so. The plaintiff

has filed no objections, and the time for doing so has expired.

       The magistrate judge makes only a recommendation to this Court. The recommendation

has no presumptive weight, and the responsibility to make a final determination remains with the

Court. See Mathews v. Weber, 423 U.S. 261, 271 (1976). The Court may "accept, reject, or

modifY, in whole or in part," the recommendation made by the magistrate judge or "recommit the

matter to the magistrate judge with instructions." 28 U.S.C. § 636(b)(1)(C). The Court is

charged with making a de novo determination of any portion of the report of the magistrate judge

to which a specific objection is made. Id. However, in the absence of an objection, the Court

reviews the report only for clear error. See Diamond v. Colonial Life & Accident Ins. Co., 416

F.3d 310,315 (4th Cir. 2005) (stating that "in the absence ofa timely filed objection, a district

court need not conduct a de novo review, but instead must only satisfY itself that there is no clear

error on the face of the record in order to accept the recommendation") (internal quotation marks

and citation omitted). Furthermore, the failure to file specific written objections to the R&R

results in a party's waiver ofthe right to appeal from the judgment of the District Court based


                                                                                        Page 2 of 3
           2:12-cv-03510-CWH          Date Filed 02/15/13      Entry Number 16        Page 3 of 3




       upon such recommendation. Thomas v. Am, 474 U.S. 140, 155 (1985); Wright v. Collins, 766

       F.2d 841, 846 (4th CiT. 1985); United States v. Schronce, 727 F.2d 91,94 (4th Cir. 1984).

              The Court has reviewed the record in this matter, the applicable law, and the R&R of the

       magistrate judge, and agrees with the conclusions of the magistrate judge. Accordingly, the

       Court adopts and incorporates the R&R (ECF No. 10) by reference in this Order, and dismisses

       the complaint with prejudice insofar as it pertains to Honeywell or any related entity.

              AND IT IS SO ORDERED.




                                                     C. WESTON HOUCK
                                                     UNITED STATES DISTRICT JUDGE
       February  is-.2013
       Charleston, South Carolina




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